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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


 UNITED STATES OF AMERICA,

                       Plaintiff,                        Cr. No. 4:21-cr-009-GCH

           v.
                                                       EMERGENCY MOTION
 ROBERT T. BROCKMAN,

                       Defendant.



                REPLY IN SUPPORT OF OPPOSED EMERGENCY MOTION
                               TO STRIKE OR SEAL

       The Government acknowledges in its Opposition that “the underlying proceedings

in Bermuda . . . were sealed by the Court in Bermuda,” but it nonetheless concludes that

the affidavit—which was filed as part of those proceedings—was not sealed. Opp. 4,

Dkt. No. 141. The Government misunderstands the nature of the sealing order in the

Bermuda Supreme Court proceedings. As made clear in Petitioner’s Exhibit 1 and the

Government’s Sealed Exhibit 4, the Bermuda Supreme Court entered an order on

November 5, 2018, “for the Court file to be sealed and for these proceedings to be held in

camera.” Dkt. No. 140-1, ¶ 19. 1 Not part of the file, not some of the file, but “the Court

file.” That applies to the entire proceeding and every document docketed in the



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         The Government states the sealing order is dated July 23, 2020. As made clear
in the above-cited exhibits, July 23, 2020 is the date of a later order of the Bermuda
Supreme Court describing its prior, November 5, 2018 order sealing the proceedings.
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proceeding—including the affidavit—as Bermuda attorney and barrister Paul Harshaw

explained to the Government in an August 23, 2021 letter. See Pet.’s Ex. 2, Dkt. No.

140-2 (“All documents filed in the Bermuda Trust Proceedings are the subject of

confidentiality orders and all hearings held in the Bermuda Trust have been held in

camera.” (emphasis added)). Indeed, even the name of the proceeding is not publicly

available. Id.

       The Government cites the general presumption of access to judicial filings. But

Petitioner is not a party to this case and should never have been publicly accused of

misconduct in the first place. See In re Smith, 656 F.2d 1101, 11007 (5th Cir. 1981)

(striking and sealing references to petitioner because “no legitimate governmental interest

is served by an official public smear of an individual when that individual has not been

provided a forum in which to vindicate his rights.”).

       In addition, the principle of comity supports respecting the sealing order of the

Bermuda Supreme Court. See, e.g., In re Transbrasil S.A. Linhas Aéreas, No. 11-19484-

BKC-AJC, 2014 WL 1655990, at *2 (Bankr. S.D. Fla. Apr. 25, 2014) (“This Court

understood those [confidentiality] concerns and extended comity to the seal ordered in

Brazil”), aff'd sub nom. In re Transbrasil S.A. Linhas Aereas, 644 F. App’x 959 (11th

Cir. 2016); Compal Elecs., Inc. v. Apple Inc., No. 317CV00108GPCMDD, 2017 WL

11423604, at *3 (S.D. Cal. Sept. 5, 2017) (citing a “concern for comity,” concluding that

“compelling reasons exist for sealing the foreign complaints” because the complaints

were “not publicly accessible” in the foreign jurisdictions and “neither [parties’] claims

before this Court arise out of the contents of the foreign proceedings”).

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       Further, the affidavit from sealed Bermuda proceedings has no relevance to this

case, nor to Petitioner’s first Motion to Strike. The Government solely cited the affidavit

for the proposition that Tangarra was used to facilitate its director’s employment with

defendant Robert Brockman, which the Government now claims “directly contradict[s]

the assertions made by Tangarra’s counsel in the Motion to Strike.” See Opp. 2, Dkt. No.

141. The Government never specifies which portion of Petitioner’s first Motion to Strike

this contradicts, for the simple reason that Petitioner never said anything to the contrary.

See generally Pet.’s Mot., Dkt. No. 87. Petitioner’s Motion instead relied on Fifth Circuit

case law that “prohibits the Government from publicly accusing uncharged third parties

of wrongdoing.” Id. at 4 (citing United States v. Briggs, 514 F.2d 794, 806 (5th Cir.

1975)). The only substantive factual assertion regarding Petitioner in the Motion was that

Petitioner never purchased debt, as it was accused of doing in the Brockman Indictment.

Id. at 7. 2 Even if the Government must cite the affidavit for its Opposition, that citation

can be just as easily made to a sealed exhibit, as the Government did for Sealed Exhibits

3 and 4 to its Opposition to this Motion.

       The Government cites correspondence with a third-party attorney stating, without

explanation, that the affidavit was not under seal. See Opp. Ex. 2, Dkt. No. 141-2. Since

the Government filed its Opposition this morning, Petitioner’s Washington counsel

contacted the attorney in question and obtained a copy of a second email, which the



       2
         As Petitioner noted in its first Motion to Strike, though the present accusations
are inaccurate, even true accusations against uncharged third parties are prohibited. See
Pet.’s Mot. at footnote 2, Dkt. No. 87.
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Government did not see fit to bring to the attention of this Court. That second email—

sent before the Government’s instant Opposition—clarified that although the individual

affidavit was not filed under seal, “in fact the entire court file that the pleading was

lodged in was under seal.” See Ex. 1 (email from M. Herrington to C Smith). Moreover,

even if the Government did not understand that the affidavit was in fact part of a sealed

court file at the time the Government publicly filed it, it remains the case that the

Government has been on notice for a month that the affidavit was subject to the Bermuda

sealing order. See Pet.’s Reply, Dkt. No. 107 at footnote 1; Pet.’s Ex. 2, Dkt. No. 140-2.

Irrespective of fault, there is no legitimate reason that the affidavit about non-party

Petitioner, from sealed Bermuda Supreme Court proceedings, should remain on the

public docket in this case.

       Finally, apparently relying on the venerable legal doctrine “no harm, no foul,” the

Government argues that “[t]here is no articulable prejudice to any of the parties to the

Bermuda proceedings, or the Bermuda Court.” That is self-evidently untrue on both

counts. First, because of the Government’s error, non-public, sensitive personal and

financial information about the affiant and his family has now been released and written

about in the newspapers. Second, by filing the affidavit in unredacted form, including all

of the party names in its caption, the Government has directly undercut the Bermuda

Supreme Court’s confidentiality order. See, e.g., Dkt. No. 140-2 (noting that “the title of

the Bermuda Trust Proceedings does not even appear in the cause book” and that “[t]he

public is not allowed to know the title of the cause, much less the evidence filed



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therein”); Dkt. No. 140-1, ¶ 19 (Bermuda Supreme Court order that proceedings be held

in camera and any judgment be “anonymized”).

       The Court respectfully requests that the affidavit be struck from the record or

placed under seal by this Court.


                                                        Respectfully submitted,
                                                        _/s/ Philip H. Hilder________
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                             CERTIFICATE OF SERVICE

       I certify that on September 17, 2021, I electronically submitted the following
document with the Clerk of Court for the U.S. District Court for the Southern District of
Texas, using the electronic case filing system of the Court. The electronic case filing
system sent a “Notice of Electronic Filing” to individuals who have consented in writing
to accept this Notice as service of this document by electronic means.



                                                       /s/ Stephanie K. McGuire




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